
46 N.Y.2d 876 (1979)
In the Matter of the Claim of Rudy Watz, Respondent. Equitable Life Assurance Society of the United States, Respondent. Philip Ross, as Industrial Commissioner, Appellant.
Court of Appeals of the State of New York.
Argued January 10, 1979.
Decided February 8, 1979.
Robert Abrams, Attorney-General (Irving Jorrisch, Samuel A. Hirshowitz and Murray Sylvester of counsel), for appellant.
MacNeil Mitchell, Patrick J. Caulfield and Charles W. Muller for employer respondent.
No appearance for claimant-respondent.
Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER and FUCHSBERG concur in memorandum.
*877MEMORANDUM.
The order of the Appellate Division should be affirmed, with costs.
We agree that there is not substantial evidence in the record to sustain the determination of the appeal board that the relationship between claimant and Equitable Life Assurance Society was that of employee-employer during the period January 1, 1974 through December 1, 1974.
Order affirmed.
